          Case 1:22-cv-10833-MJJ Document 61 Filed 01/24/24 Page 1 of 22




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS



 SUNCO TIMBER (KUNSHAN) CO., LTD.                         Civil Action No. 1:22-cv-10833
   Plaintiff,

 v.

 LINDA SUN, individually, DAVID SUN,
 individually, SHILLOCK YUAN-SUN,
 i n d i v i d u a l l y, a n d I N F I N I T Y W O O D
 PRODUCTS, LLC,
     Defendants,

 S U N C O , I N C . , E A S T M A N S T.
 DISTRIBUTORS LLC, EASTMAN ST.
 WOODWORKS, INC., INFINITY REALTY
 COMPANY LLC, AND NEW SUN LIMITED
 PARTNERSHIP,
    Reach and Apply Defendants, and
    Fraudulent Conveyance Defendants.



             AMENDED COMPLAINT AND REQUEST FOR TRIAL BY JURY

                                   PREFATORY ALLEGATIONS

1.      Plaintiff Sunco Timber (Kunshan) Co., Ltd. (“Sunco”) is a legal entity with its principal
        place of business located at Kunshan, China.

2.      Defendant Linda Sun (“L. Sun”) is an individual residing at 93 Goulding Street West,
        Sherborn, Massachusetts.

3.      Defendant David Sun (“D. Sun”) is an individual residing at 93 Goulding Street West,
        Sherborn, Massachusetts.

4.      Defendant Shillock Yuan-Sun (“S. Sun”) is an individual residing at 93 Goulding Street
        West, Sherborn, Massachusetts.




                                                    1
       Case 1:22-cv-10833-MJJ Document 61 Filed 01/24/24 Page 2 of 22




5.    Defendant Infinity Wood Products, LLC (“Infinity”) is a Delaware limited liability
      company registered to do business in Massachusetts as a limited liability company, with
      its primary place of business located at 35 Eastman Street, South Easton, Massachusetts.

6.    The managers of Infinity are D. Sun and S. Sun and its members and equity shareholders
      are believed to be L. Sun, D. Sun and S. Sun.

7.    D. Sun, S. Sun, L. Sun and Infinity are collectively referred to herein as “Defendants”.

8.    Defendants are the agents of one another such that one is liable for the wrongdoing of the
      other.

9.    Each of the defendants knowingly and substantially aided and assisted one another to
      perpetuate the wrongdoings asserted herein, and thus they are liable to their wrongdoings
      asserted herein.

10.   Reach and Apply Defendant/Fraudulent Conveyance Defendant Sunco, Inc. a//k/a Sun
      Trust a/k/a Sun Family Trust is a Massachusetts corporation with its primary place of
      business located at 163 Highland Avenue, #1052, Needham, Massachusetts 02494.
      Sunco, Inc. is believed to be a shell entity used by the Defendants to conceal their assets.

11.   Reach and Apply Defendant/Fraudulent Conveyance Defendant Eastman St. Distributors,
      LLC is a Delaware limited liability company with its place of business located at 163
      Highland Avenue, #1052, Needham, Massachusetts 02494. Eastman St. Distributors,
      LLC is believed to be a shell entity used by the Defendants to conceal their assets.

12.   Reach and Apply Defendant/Fraudulent Conveyance Defendant Eastman St. Woodworks,
      Inc. is a Nevada corporation with its place of business located at 93 Goulding Street
      West, Sherborn, Massachusetts 01770. Eastman St. Woodworks, Inc. is believed to be a
      shell entity used by the Defendants to conceal their assets.

13.   Reach and Apply Defendant/Fraudulent Conveyance Defendant Infinity Realty Company,
      LLC is a Massachusetts limited liability company with its place of business located at
      163 Highland Avenue, #1052, Needham, Massachusetts 02494. Infinity Realty Company,
      LLC is believed to be a shell entity used by the Defendants to conceal their assets.

14.   Reach and Apply Defendant/Fraudulent Conveyance Defendant New Sun Limited
      Partnership is a Massachusetts limited partnership with its business address located at
      Sunco, Inc. c/o/ Jeffrey Schlossberg, Esq., Schlossberg & McLaughlin, PC, 35 Braintree
      Hill Office Park, Suite 303, Post Office Box 850699, Braintree, Massachusetts 02185.
      New Sun Limited Partnership is believed to be a shell entity used by the Defendants to
      conceal their assets.



                                               2
       Case 1:22-cv-10833-MJJ Document 61 Filed 01/24/24 Page 3 of 22




15.   Reach and Apply Defendants/Fraudulent Conveyance Defendants Sunco, Inc., Eastman
      St. Distributors, LLC, Eastman St. Woodworks, Inc., Infinity Realty Company, LLC, Sun
      Trust, and New Sun Limited Partnership shall be collectively referred to herein as
      “Affiliated Entities”.




                                            3
       Case 1:22-cv-10833-MJJ Document 61 Filed 01/24/24 Page 4 of 22




                               JURISDICTION AND VENUE

16.   This Court has subject matter jurisdiction over this dispute pursuant to 28 U.S.C. Section
      1332 and diversity of citizenship as the amount in controversy exceeds the sum or value
      specified in this Federal statute.

17.   Venue is proper in this District of Massachusetts pursuant to 28 U.S.C. Section 1391(b)
      (1) and (2), since the defendants are residents of this District, and a substantial part of the
      events or omissions giving rise to the claim occurred in this District of Massachusetts.

                                       BACKGROUND

18.   Sunco is a manufacturer of wood cabinetry and exports its products to the United States.

19.   Infinity is in the business importing, distributing and selling wooden cabinetry in the
      United States.

20.   L. Sun was born in Taiwan and immigrated to the United States in the seventies.

21.   D. Sun is the son of L. Sun.

22.   S. Sun is the wife of D. Sun.

23.   In 2003, Sunco was founded in Kunshan, China by L. Sun.

24.   Sunco is in the business for manufacturing and exporting of cabinets and vanities to the
      United States.

25.   L. Sun was the President and Chief Executive Officer of Sunco, managing and overseeing
      all aspects of the business, including order placement and processing, sales, production,
      operation, shipping, finances, and after sales customer service.

26.   Each of the orders for cabinets placed by Infinity were custom orders.

27.   Until her abrupt departure from the Sunco on June 14, 2019, L. Sun remained the
      President of the company and single-handedly controlled the operation.

28.   Up until her departure from Sunco on June, 14, 2019, L. Sun lived on the second floor of
      a villa located on the Sunco factory compound.

29.   Commencing in 2014, L. Sun sold off equity interests in Sunco and brought in other
      shareholders.



                                                4
       Case 1:22-cv-10833-MJJ Document 61 Filed 01/24/24 Page 5 of 22




30.   In 2014, a board of directors for Sunco was formed, that included Qiong Xiao (“Q.
      Xiao”) and Ruihua Xiao (“R. Xiao”).

31.   At least since 2014, L. Sun worked and lived at the Sunco factory and only traveled to the
      United States to renew her passport once in a while, usually for about a week for each
      trip.

32.   L. Sun always notified the other key management members of Sunco, of her travel
      schedule.

33.   Until July 2019, Infinity had been Sunco’s sole customer. Infinity would provide Sunco
      with design models or custom requests of kitchen cabinet and bathroom vanity sets.

34.   D. Sun and S. Sun were and are the managers of Infinity according to the company’s
      filings with the Massachusetts Secretary of State’s Office.

35.   D. Sun, S. Sun and L. Sun are believed to be the sole equity holders of Infinity.

36.   S. Sun has been the chief financial controller of Infinity.

37.   Upon information and belief, at all relevant times, L. Sun, D. Sun and S. Sun received all
      of the distributions from Infinity.

38.   Infinity is believed to be thinly capitalized and relies on the sale of the cabinets it orders
      from Sunco before paying Sunco for those cabinets.

39.   Sunco’s transactions with Infinity were initiated by Infinity submitting a purchase order
      to Sunco.

40.   The issuance of a purchase initiated the custom manufacturing of the requested models of
      cabinets and vanities (style, wood, stain, etc.).

41.   Once the cabinets were manufactured per Infinity’s requirements, they were packaged
      and shipped to Infinity in the United States.

42.   An invoice for payment would then be issued to Infinity by Sunco.

43.   At some point in time after receipt of the cabinets, Infinity would pay the outstanding
      invoice.

44.   Infinity, however, failed to pay for the last shipments of cabinets that were shipped to it
      by Sunco commencing on or about July 2, 2018 and finished shipping on or about July 7,
      2019 -- shipments at issue in the present action.


                                                5
       Case 1:22-cv-10833-MJJ Document 61 Filed 01/24/24 Page 6 of 22




45.   In the spring of 2018, the United States Government commenced rolling out tariffs
      against China.

46.   As of September 24, 2018, tariffs on Chinese wood products were 10%. Starting January
      1, 2019, the tariffs were increased to 25%.

47.   Then in the spring of 2019, the United States commenced proposing and subsequently
      implemented anti-dumping penalties that ultimately resulted in the placement of over a
      100% duty burden on Sunco products. August 5, 2019, average countervailing duties
      were set at 16.41%. On October 4, 2019, anti-dumping tariffs were increased to 39.25%.
      On February 24, 2020, average countervailing duties were announced at 20.93% and
      average anti-dumping tariffs were 48.50%, and regular duties were 25%, which
      accounted to a total of 94.43%.

48.   It was anticipated that these steep duties would cripple the export of wood-based products
      from China to the United States.

49.   L. Sun expressed concern that these tariffs, countervailing duties and anti-dumping tariffs
      would have an adverse economic impact on Sunco.

50.   Sunco, under the direction of L. Sun, continued filling Infinity’s orders and shipping
      cabinets to Infinity.

51.   Infinity was and is a wholesaler of cabinetry products and marks-up the products from
      25% to 50%, or more, for sale to retailers.

52.   From July 2, 2018 to July 7, 2019, Sunco shipped $6,712,182.11 worth of wood cabinetry
      to Infinity with a resale mark-up value to Infinity of $8,375,000 to $10,050,000 or
      greater.

53.   The resale value to Infinity of the goods at issue is believed to be $8,375,000 to
      $10,050,000 or greater.

54.   Infinity accepted the delivery of all products delivered by Sunco and expressed no issues
      with the quality, timeliness or correctness of Sunco’s products.

55.   On a number of occasions, including on April 17, 2019, Infinity staff requested that its
      accounts payable term be extended and that Infinity would be able to pay approximately
      $500,000 per month.




                                               6
       Case 1:22-cv-10833-MJJ Document 61 Filed 01/24/24 Page 7 of 22




56.   On April 29, 2019, Infinity executed a confirmation of accounts receivable
      acknowledging it owed Sunco $5,886,466.77 for the cabinetry shipped as of December
      31, 2018.

57.   In reliance on these payment assurances, Sunco continued to fulfill orders.

58.   On June 14, 2019, L. Sun left her home in Kunshan, China, abruptly and unannounced,
      for Massachusetts. To date L. Sun has not returned to Kunshan, China.

59.   Immediately following her sudden and unannounced departure for Massachusetts,
      Sunco’s board members reached out to L. Sun requesting she disclose her knowledge of
      and assistance with solving significant financial problems occurring at the Sunco factory.

60.   At first, L. Sun ignored these communications.

61.   Then on July 24, 2019, L. Sun sent Q. Xiao a member of the board of Sunco and R. Xiao
      the Chairman of the Board of Sunco a formal letter listing a litany of purported health
      issues she was encountering and repeatedly stating she would be going through medical
      treatment for the next 6 months. She did not address any of the financial issues,
      including Infinity’s non-payment of goods. L. Sun concluded the letter by stating that R.
      Xiao and Q. Xiao could simply take over the management of Sunco, without any
      explanation as to why Infinity had not paid its invoices or when it would pay its invoices.

62.   This was all a ruse by L. Sun, D. Sun, S. Sun and Infinity to buy time to complete the
      shipment of the cabinets and allow Sunco to fall into insolvency and be in violation of
      Chinese labor and other laws; thus, being unable to bring suit to recover the value of the
      cabinets through any kind of legal process.

63.   At the same time the last shipment to Infinity was made and the sending of the letter by
      L. Sun representing that she was unable to participate in the management of Sunco, while
      refusing and failing to answer questions about the non-payment by Infinity of the
      $6,712,182.11.

64.   The non-payment of cabinets by Infinity, at the direction of L. Sun, was a form of an
      illegal self-help.

65.   After the last shipment of cabinets in July of 2019, Infinity ceased doing any further
      business with Sunco.

66.   In the summer of 2019, Guoqing Wu took over the management of the Sunco factory.




                                               7
       Case 1:22-cv-10833-MJJ Document 61 Filed 01/24/24 Page 8 of 22




67.   It soon became evident that L. Sun had permanently left the company, leaving Sunco
      unable to pay, among other things, the salaries of its workers, pollution disposal fees, tax
      or its vendors.

68.   In July of 2019, Sunco’s workers commenced going on strike.

69.   On August 9, 2019, the Sunco’s workers went to the local government complaining of
      Sunco’s non-payment of salaries.

70.   The local government ordered Sunco to pay unpaid salaries of June 2019 by August 14,
      2019 and pay remaining unpaid salaries and fines by October 25, 2019.

71.   Sunco was forced to borrow approximately $2.68 million to pay the unpaid salaries and
      fines of its approximately 120 workers, pollution disposal, fire prevention, tax, as well its
      vendors and suppliers.

72.   Sunco was required to pay fines, penalties and fees in the amount of $938,843 as a direct
      result of L. Sun’s abandonment’s the factory, and interest on the monies it had to borrow
      in the amount of $577,455 as a result of Infinity’s not paying its invoices.

73.   L. Sun had not disclosed to the Board of Sunco or the other top managers of Sunco that
      her son, D. Sun, and her daughter-in-law, S. Sun were the managers and owners of
      Infinity.

74.   Other board members only learned of the true nature of the roles that D. Sun and S. Sun
      played in Infinity after Infinity failed to pay for Sunco’s outstanding invoices amounting
      to $6,712182.11 in cabinetry and the company slipped into insolvency.

75.   It is believed that L. Sun held and holds some kind of undisclosed financial interest in
      Infinity, as well as control over Infinity.

76.   L. Sun had not disclosed that she and her direct family members had a vested interest in
      the $6,712,182.11 sale of cabinets.

77.   L. Sun did not disclose her interest in Infinity or the financial benefit she received from
      Infinity to Sunco’s Board or other top managers.

78.   It is apparent that L. Sun believed that the duties, countervailing duties, and anti-dumping
      tariffs being imposed would be crippling to Sunco’s ability to export to the United States.

79.   L. Sun took and converted the final cabinet shipments of $6,712182.11, with a wholesale
      value of $8,375,000 to $10,050,000 or more for her own personal benefit and the benefit
      of her son D. Sun and her daughter-in-law S. Sun.


                                               8
       Case 1:22-cv-10833-MJJ Document 61 Filed 01/24/24 Page 9 of 22




80.   L. Sun drained Sunco of its accounts receivable and abandoned the company for her other
      home in Massachusetts, leaving workers unpaid, vendors unpaid, polluted material
      unprocessed, and Chinese regulatory agencies potentially holding the remaining
      managers liable for these unpaid liabilities.

81.   Sunco believes that L. Sun, D. Sun and S. Sun have ceased operations of Infinity and
      siphoned off all of its capital.

82.   In August of 2020, Sunco, Inc. (U.S.A.), a purported shareholder of Sunco controlled by
      L. Sun filed suit in Suzhou, China seeking to dissolve Sunco. The court in Suzhou
      denied the request to dissolve Sunco and entered judgment in favor of Sunco in
      November of 2021.

83.   Based on information and belief, the Suzhou lawsuit to dissolve Sunco was initiated by
      D. Sun pursuant to the instructions of L. Sun in an apparent, wrongful attempt to prevent
      Sunco from asserting its right and being able to pursue the claims alleged herein against
      her, as well as against her son, her daughter-in-law and Infinity, arising from her
      wrongful conversion of the $6,712182.11 in cabinets manufactured by Sunco for Infinity.

84.   Sunco will prove its damages at the time of trial.




                                               9
       Case 1:22-cv-10833-MJJ Document 61 Filed 01/24/24 Page 10 of 22




                                      AFFILIATED ENTITIES

85.   As set forth above, the following entities have been identified as Affiliated Entities of
      Infinity: Sunco, Inc.; Eastman St. Distributors LLC; Eastman St. Woodworks, Inc.;
      Infinity Realty Company LLC; Sun Trust f/k/a Sun Family Trust; and New Sun Limited
      Partnership (the “Affiliated Entities”).

86.   Each of the Affiliated Entities is owned in part or whole of one another as well as by L.
      Sun, D. Sun and/or S. Sun.

87.   Each of the Affiliated Entities was involved in part of or whole, of the incorporation,
      distribution and/or sale of the cabinets and/or were in receipt of and/or the beneficiary of
      the proceeds from the sale of the cabinets.

88.   The Affiliated Entities operated under the management of L. Sun, D. Sun and S. Sun and
      are agents as the alter ego of one another.

89.   Upon information and belief, the Affiliated Entities have commingled their assets and
      monies, as well as their operations, resulting in their operations as a single cabinet
      enterprise.

90.   The Affiliated Entities are organized for the importation and the sale of a single product –
      cabinets.

91.   During the period of time from about July 2014 through 2018 the sole source of cabinets
      for the Affiliated Entities to import, distribute and/or resell were Sunco’s cabinets.

92.   Each of the Affiliated Entities received and benefited directly or indirectly from the
      importation and sale of the cabinets without paying any consideration.

93.   The Affiliated Entities were used by D. Sun, L. Sun, S. Sun and Infinity to conceal and
      obfuscate the proceeds from the sale of the cabinets.

94.   Upon information and belief, the Affiliated Entities transferred the cabinets from one
      entity to the next for no consideration.

95.   Sunco, Inc.’s business is to import, distribute and sell wood cabinetry.

96.   Eastman St. Distributors LLC’s scope of business is defined as retail sale of cabinetry.

97.   Eastman St. Woodworks, Inc. is in the business of importation and distribution of kitchen
      and bathroom cabinets.


                                               10
        Case 1:22-cv-10833-MJJ Document 61 Filed 01/24/24 Page 11 of 22




98.    All of the Affiliated Entities were formed by L. Sun, D. Sun, and/or S. Sun, who have
       ownership, are officers or directors, and/or control.

99.    Sunco, Inc., previously known as Sunco Business Trust was an entity created and
       managed by L. Sun.

100.   L. Sun converted Sunco Business Trust into Sunco, Inc., wherein she remained as a
       director and/or officer.

101.   At some point in or about 2010, L. Sun brought D. Sun into Sunco, Inc. and according to
       public records at the Commonwealth of Massachusetts Secretary of State’s office,
       appointed D. Sun as a director and officer.

102.   According to the Commonwealth of Massachusetts, Secretary of State’s office, D. Sun is
       Sunco Inc.’s current director and officer.

103.   S. Sun is the manager and D. Sun is the person authorized to sign real estate instrument
       for Eastman St. Distributors LLC.

104.   D. Sun is a director and officer of Eastman St. Woodworks, Inc., which was incorporated
       in March, 2022.

105.   Sunco, Inc. and Eastman St. Woodworks, Inc. hold themselves out as doing business as
       one another.

106.   D. Sun is manager of Infinity Realty Company LLC whose business scope is defined as
       real estate investment.

107.   On information and belief, the monies obtained from the sale of the cabinets were
       invested in real estate held by Infinity Realty Company LLC.

108.   Sunco, Inc. is the general partner of New Sun Limited Partnership whose business is
       primarily in real property transactions and investments.

109.   On information and belief, the monies obtained from the sale of the cabinets were
       invested in real estate held by New Sun Limited Partnership.

110.   L. Sun, D. Sun, and S. Sun would use Infinity to order cabinets from Sunco and then
       transfer the cabinets to one or more of its Affiliated Entities who in turn transferred the
       cabinets between themselves: Sunco Inc., Eastman St. Distributors LLC, and/or Eastman
       St. Woodworks, Inc. The Affiliated Entities would then resell or distribute the cabinetry
       to retailers or sell the cabinetry directly to consumers. The cabinets manufactured by


                                               11
        Case 1:22-cv-10833-MJJ Document 61 Filed 01/24/24 Page 12 of 22




       Sunco were the sole source of the wooden cabinet products manufactured and sold by
       these entities.

111.   L. Sun, D. Sun, and S. Sun would invest the proceeds from the sale and/or resale of the
       cabinets to Infinity Realty Company LLC, New Sun Limited Partnership and/or Sun
       Trust f/k/a Sun Family Trust for investment in real properties.

112.   Based on information and belief, L. Sun, D. Sun, and S. Sun transferred all of Sunco’s
       cabinets and/or the proceeds from the sale of the cabinets into the Affiliated Entities with
       the purpose of concealing them from any potential judgment.

                                    CAUSES OF ACTION

                                          COUNT I
                                      Breach of Contract
                                       (Against Infinity)

113.   Plaintiff repeats and re-alleges each and every allegation as though each were separately
       and specifically set forth herein.

114.   A contract was formed between Sunco and Infinity.

115.   The contract was for Sunco to manufacture custom ordered cabinetry for Infinity.

116.   Infinity requested that Sunco manufacture the cabinetry.

117.   The unpaid cabinets were manufactured and delivered in accordance with Sunco and
       Infinity’s business practices dating back about 6 to 7 years.

118.   Sunco manufactured the cabinetry per Infinity’s purchase orders.

119.   Sunco delivered the cabinets to Infinity and Infinity accepted the cabinets.

120.   Infinity never raised any issue as to the quality of the cabinets, corrections of the
       cabinets, or timeliness of the delivery of the cabinets.

121.   Infinity accepted the cabinets and resold the cabinets making a profit estimated to be
       between $1,675,000 and $3,350,000, or greater, above the $6,712,182.11 contract price.

122.   Infinity breached the parties’ contract by not paying Sunco for the cabinets.

123.   In April of 2019, Infinity affirmed in writing that it owed Sunco $5,886,466.77 for the
       cabinets manufactured and delivered as of December 31, 2018.


                                               12
        Case 1:22-cv-10833-MJJ Document 61 Filed 01/24/24 Page 13 of 22




124.   Sunco performed all of its duties and responsibilities under the parties’ contract.

125.   Sunco will prove its damages at the time of trial.




                                                13
        Case 1:22-cv-10833-MJJ Document 61 Filed 01/24/24 Page 14 of 22




                                          COUNT II
                                      Promissory Estoppel
                                       (Against Infinity)

126.   Plaintiff repeats and re-alleges each and every allegation as though each were separately
       and specifically set forth herein.

127.   Infinity represented to Sunco that it would pay for the cabinetry to be manufactured by
       Sunco.

128.   It was reasonable for Sunco rely of the promises of payment from Infinity to move
       forward to manufacture the goods for Infinity.

129.   Sunco relied on this promise from Infinity to pay for the cabinetry.

130.   Infinity’s promises of payment were substantial in character.

131.   Based on Infinity’ promises, Sunco employed a factory workforce and purchased raw
       materials from suppliers.

132.   Sunco manufactured the cabinets in reliance on the promises of payment by Infinity.

133.   Sunco delivered the cabinets in accordance with Infinity’s promises.

134.   Infinity accepted the delivery of the cabinets from Sunco.

135.   Infinity expressed no issues with regards to Sunco failing to fulfill its obligations
       regarding the manufacturing and delivery of the cabinets.

136.   Infinity breached its promises by not paying for the manufactured and delivered cabinets.

137.   Injustice can only be avoided by enforcement of Infinity’s promises.

138.   Infinity has acknowledged owing monies to Sunco for the cabinets.

139.   Sunco will prove its damages at the time of trial.

                                         COUNT III
                                       Quantum Meruit
                                       (Against Infinity)




                                                14
        Case 1:22-cv-10833-MJJ Document 61 Filed 01/24/24 Page 15 of 22




140.   If Defendants deny the existence of a contract between the parties, then Sunco pleads
       Quantum Meruit in the alternative.

141.   Plaintiff repeats and re-alleges each and every allegation as though each were separately
       and specifically set forth herein.

142.   Infinity received $6,712182.11 in cabinets from Sunco.

143.   Infinity accepted delivery of the $6,712182.11 in cabinets from Sunco.

144.   Infinity has acknowledged in writing that it owes $5,886,466.77 as of the end of
       December 2018 for cabinets manufactured by Sunco.

145.   Infinity had a reasonable expectation that Sunco expected to get paid for the cabinets.

146.   Infinity knew or reasonably understood it was responsible for paying for the cabinets.

147.   The value of the cabinets is $6,712182.11.

148.   Sunco will prove its damages at the time of trial.

                                       COUNT IV
              Wrongful Interference with Business and Contractual Relations
                                    (Against L. Sun)

                          This Cause of Action Has Been Dismissed
               Pursuant To The Court’s Order of March 13, 2023, Docket No. 32.

                                         COUNT V
                                         Conversion
                                   (Against All Defendants)

                          This Cause of Action Has Been Dismissed
               Pursuant To The Court’s Order of March 13, 2023, Docket No. 32.

                                         COUNT VI
                                   Breach of Duty of Loyalty
                                       (Against L. Sun)

149.   Plaintiff repeats and re-alleges each and every allegation as though each were separately
       and specifically set forth herein.




                                                15
        Case 1:22-cv-10833-MJJ Document 61 Filed 01/24/24 Page 16 of 22




150.   L. Sun was the President and on the Board of Directors of Sunco and is still on the Board
       of Directors.

151.   L. Sun owed a duty of loyalty to Sunco not to compete or put her own financial interests
       ahead of the interests of Sunco.

152.   L. Sun owed a duty of loyalty to Sunco not to place the interests of Infinity or herself
       ahead of the interests of Sunco or pursue interests adverse to Sunco including competing
       with Sunco and diverting payments due Sunco for her own benefit.

153.   L. Sun breached her duty of loyalty by holding and concealing interest in Infinity by
       taking action that harmed Sunco and benefited her.

154.   L. Sun breached her duty of loyalty by shipping Sunco goods to Infinity, a company she
       had a personal interest in and/or received a personal benefit from, either directly or
       indirectly and preventing Infinity from paying for the cabinets.

155.   L. Sun further breached her duty of loyalty by abandoning Sunco and having Infinity not
       pay $6,712182.11 in outstanding invoices, and leaving no monies in the company to pay
       its workers or vendors.

156.   Sunco has been damaged as a result of L. Sun’s breaches of her duty of loyalty.

157.   Sunco will prove its damages at the time of trial.

                                         COUNT VII
                                   Breach of Fiduciary Duty
                                       (Against L. Sun)

158.   Plaintiff repeats and re-alleges each and every allegation as though each were separately
       and specifically set forth herein.

159.   L. Sun as director, shareholder and President owed a fiduciary duty to Sunco and the
       other Shareholders.

160.   Officers and directors owe a duty of utmost good faith and loyalty to the corporation
       itself, to protect the interests of the corporation they serve. They are required to act in
       complete good faith toward their corporation, its shareholders, and to exercise reasonable
       intelligence in the performance of their duties.

161.   L. Sun not only owed a fiduciary duty to Sunco as a result of her position as a
       shareholder, director and officer, she also owed the duty because she held special



                                                16
         Case 1:22-cv-10833-MJJ Document 61 Filed 01/24/24 Page 17 of 22




        knowledge and information relied upon by Sunco and its Board members regarding sales
        to Infinity.

162.    Sunco relied upon the special knowledge possessed by L. Sun in in the manufacturing
        and sale of goods to Infinity.

163.    L. Sun acted in bad faith and not in the best interest of Sunco or its shareholders.

164.    L. Sun breached this fiduciary duty by arranging for Sunco to manufacture $6,712182.11
        in cabinetry for Infinity and then assisted and directed Infinity not pay for the cabinetry.

165.    L. Sun did all these knowing workers would not get paid, vendors would not get paid and
        that Sunco would be in violation of Chinese regulators.

166.    Sunco has been damaged by L. Sun’s breaches of her fiduciary duties, damages which
        will be proven at trial.

                                             COUNT VIII
                                      Moneys Had and Received
                                 (Against Infinity, D. Sun and S. Sun)1

167.    Plaintiff repeats and re-alleges each and every allegation as though each were separately
        and specifically set forth herein.

168.    D. Sun, S. Sun and Infinity obtained monies through the sale of goods they received from
        Sunco.

169.    D. Sun, S. Sun and Infinity retained these monies and did not pay Sunco for the goods.

170.    Under the circumstances, in equity and good conscience, it would be wrong and unfair
        for D. Sun, S. Sun and Infinity to retain the monies they received from the sale of the
        goods and not pay Sunco.

171.    Sunco will prove its damages at time of trial.

                                               COUNT IX
                                               Conspiracy
                                         (Against All Defendants)

                            This Cause of Action Has Been Dismissed
                 Pursuant To The Court’s Order of March 13, 2023, Docket No. 32.

1 L. Sun was dismissed pursuant to the Court’s Order of March 13, 2023, Docket No. 32.



                                                       17
        Case 1:22-cv-10833-MJJ Document 61 Filed 01/24/24 Page 18 of 22




                                           COUNT X
                                     Aiding and Abetting
                              (Against L. Sun, D. Sun and S. Sun)

                          This Cause of Action Has Been Dismissed
               Pursuant To The Court’s Order of March 13, 2023, Docket No. 32.

                                          COUNT XI
                           Piercing of the Corporate Veil of Infinity
                                   (Against All Defendants)

172.   Plaintiff repeats and re-alleges each and every allegation as though each were separately
       and specifically set forth herein.

173.   Sunco seeks to pierce the corporate veil of Infinity and hold L. Sun, D. Sun and S. Sun
       for the non-payment of $6,712,182.11 under the legal theories of breach of contract,
       promissory estoppel, quantum meruit, and monies had and received as alleged herein.

174.   Infinity is controlled by L. Sun, her son D. Sun and her daughter-in-law S. Sun.

175.   L. Sun, D. Sun and S. Sun receive all the distributions from Infinity.

176.   Infinity is believed to have been undercapitalized at all times.

177.   Infinity is believed to be undercapitalized because L. Sun, D. Sun and S. Sun disbursed
       all monies received by Infinity from the sale of cabinets, leaving insufficient capital to
       pay its creditors, specifically Sunco.

178.   When Infinity ordered the cabinets from Sunco, it did not have the capital on hand or
       adequate account receivables to pay for the cabinets.

179.   Infinity relied on its sale of the cabinets in order to pay Sunco to manufacture the
       cabinets.

180.   When Infinity sold the cabinets at issue in this case, it did not use the proceeds from those
       sales to pay Sunco. Rather, Infinity, at the direction of L. Sun, D. Sun and S. Sun
       distributed the proceeds from the sales to themselves.

181.   L. Sun, D. Sun and S. Sun used Infinity to convert the cabinets for their own personal
       gain and to avoid paying Sunco the cost of manufacturing the cabinets.




                                                18
        Case 1:22-cv-10833-MJJ Document 61 Filed 01/24/24 Page 19 of 22




182.   The corporate veil of Infinity should be pierced and L. Sun, D. Sun and S. Sun, as equity
       requires, should pay Sunco the $6,712,182.11 that is due and owing for the cabinets
       specially manufactured for Infinity because D. Sun, L. Sun and S. Sun sold and kept all
       the proceeds and did not pay Sunco on any of its outstanding invoices.

183.   Sunco will prove its damages at the time of trial.

                                        COUNT XII
                                    Fraudulent Transfer
                     (Against All Defendants and All Affiliated Entities)

184.   Plaintiff repeats and re-alleges each and every allegation as though each were separately
       and specifically set forth herein.

185.   The Affiliated Entities’ respective assets are substantially controlled by L. Sun, S. Sun, D.
       Sun and Infinity.

186.   The Affiliated Entities are controlled and operated by L. Sun, S. Sun, D. Sun and Infinity.

187.   The assets at issue are the cabinets and the revenues generated from the sale of the
       cabinets.

188.   Sunco is the creditor of D. Sun, L. Sun, S. Sun and Infinity; and L. Sun, D. Sun, S. Sun
       and Infinity are the debtors of Sunco with respect to the non-payment of the cabinets.

189.   L. Sun, D. Sun and S. Sun are insiders to Infinity and partners of one another in the
       business operations described herein, as well as being officers, managers, directors of
       Infinity and the Affiliated Entities.

190.   L. Sun, D. Sun and S. Sun control and operate Infinity.

191.   L. Sun, D. Sun and S. Sun are related as mother and son, mother-in-law and daughter-in-
       law, and husband and wife. Each is deemed to be a relative of one another.

192.   Infinity transferred its assets, including monies and cabinets, to L. Sun, D. Sun and the
       Affiliated Entities to hinder, delay, conceal and defraud Sunco.

193.   The transfer of assets, including monies and cabinets, to the Affiliated Entities was
       without value.

194.   The transfer of the revenues from the sales of the cabinets and the transfer of the cabinets
       to the Affiliated Entities, as well as to L. Sun, D. Sun and S. Sun -- insiders -- was to



                                                19
        Case 1:22-cv-10833-MJJ Document 61 Filed 01/24/24 Page 20 of 22




       conceal the revenues and cabinets from Sunco. The transfer constituted substantial, if not
       all, of Infinity’s assets. The transfer was performed to conceal Defendants’ assets.

195.   Infinity became insolvent upon the transfer of the assets.

196.   There was no consideration paid by the Affiliated Entities to Infinity for the assets.

197.   The transfer occurred after Infinity incurred the debt.

198.   Plaintiff seeks the return of the assets to Infinity and to void any such transfers of assets
       of Infinity to L. Sun, D. Sun, S. Sun and the Affiliated Entities.

199.   Sunco will prove its damages at the time of trial.

                                         COUNT XIII
                                      Reach and Apply
                                (Against All Affiliated Entities)

200.   Plaintiff repeats and re-alleges each and every allegation as though each were separately
       and specifically set forth herein.

201.   Reach and Apply Defendants are legal entities created under the laws of the
       Commonwealth of Massachusetts, or doing business in the Commonwealth of
       Massachusetts, or individuals residing in the Commonwealth of Massachusetts.

202.   L. Sun, D. Sun, S. Sun and the Affiliated Entities owe Sunco for the cabinets sold and
       delivered by Sunco, together with statutory interest of 12% from the date of delivery.

203.   The purchase price of the cabinets was $6,712,182.

204.   Sunco is the creditor of Infinity, and therefore avers that the monies owed due Infinity or
       being held for the benefit of Infinity by L. Sun, D. Sun, S. Sun and the Affiliated Entities
       are held in trust for Sunco and should be paid to Infinity, Sunco believes those monies are
       currently owed to Infinity.

                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays that this Court grant the following relief:

       a. Judgment against Defendants and the Affiliated Entities;

       b. Damages, including compensatory, liquidated, and trebled damages to Plaintiff, as
          authorized and mandated by applicable law, in an amount to be proven at trial;


                                                20
        Case 1:22-cv-10833-MJJ Document 61 Filed 01/24/24 Page 21 of 22




       c. Pre-judgment and post-judgment interest;

       d. Attorneys’ fees and costs;

       e. Appropriate injunctive, declaratory and other equitable relief; and

       f. Grant such other and further relief as this Court deems just and proper against
          defendants and reach and apply defendants.

                               REQUEST FOR TRIAL BY JURY

       Plaintiff hereby requests that this action to be tried by jury.

DATED: January 23, 2024                                PLAINTIFF,
                                                       By its attorney,




                                                       Connie C. Dai (BBO# 683330)
                                                       Lions Law, P.C.
                                                       154 Wells Ave
                                                       Newton, Massachusetts 02459
                                                       (617) 232-7503 Telephone
                                                       (781) 207-8574 Fax
                                                       connie@lionslawgroup.com




                                                       Timothy K. Cutler (BBO#636124)
                                                       CUTLER & WILENSKY LLP
                                                       20 Walnut Street, Suite 1
                                                       Wellesley, Massachusetts 02481
                                                       (617) 232-7500 Telephone
                                                       tim@cutlerlegal.com

                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronical-
ly to the registered participants as identified on the Notice of Electronic Filing (NEF) and paper
copies will be sent to those indicated as non-registered participants on this Tuesday, January 23,
2024.


                                                 21
Case 1:22-cv-10833-MJJ Document 61 Filed 01/24/24 Page 22 of 22




                        Timothy K. Cutler




                               22
